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8                            IN THE UNITED STATES DISTRICT COURT

9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,               ) 2:05-CR-00034-LKK
                                             )
12               Plaintiff,                  )
                                             ) STIPULATION AND ORDER
13         v.                                ) CONTINUING INITIAL APPEARANCE
                                             )
14   DAVID TALCOTT USSERY,                   )
                                             ) Judge: Hon. Carolyn K. Delaney
15                                           )
                 Defendant.                  )
16                                           )
                                             )
17

18                                       STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendant, by and through his counsel of record, hereby stipulate

21   as follows:

22      1. By prior order, this matter was set for an Initial Appearance on

23         December 2, 2013.

24      2. By this Stipulation, the parties now move to continue the

25         Initial Appearance until December 16, 2013.

26      3. Since November 11, 2013, the defendant has been receiving

27         medical treatment in San Francisco.         The defendant is currently

28         receiving inpatient care in a skilled nursing facility in San

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30   Stipulation and Order                    1                United States v. Ussery
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1          Francisco.    The parties have been informed that the defendant

2          will not be medically cleared to travel to Sacramento on

3          December 2, 2013.

4       4. Given the defendant’s medical condition and the need for in-

5          patient medical treatment, the parties request that the Court

6          continue the defendant’s Initial Appearance until Monday,

7          December 16, 2013, at 2:00 p.m. before Magistrate Judge Allison

8          Claire.

9       5. The Probation Officer does not oppose the stipulation.

10   IT IS SO STIPULATED.

11

12   DATED: December 2, 2013              /s/ Justin L. Lee   _
                                        JUSTIN L. LEE
13                                      Assistant U.S. Attorney
14   DATED: December 2, 2013              /s/ Tim Zindel     _
                                        TIM ZINDEL
15                                      Attorney for David Talcott Ussery
                                        (as authorized on December 2, 2013)
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18                                         ORDER
19         IT IS SO FOUND AND ORDERED, this _2nd_ day of December, 2013.

20

21
                                          /s/ Carolyn K. Delaney______
22                                      Hon. CAROLYN K. DELANEY
                                        United States Magistrate Judge
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30   Stipulation and Order                    2                United States v. Ussery
